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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                      8:13CR43
       vs.                                 )
                                           )                       ORDER
EDUARDO VALENZUELA-NUNEZ,                  )
                                           )
                                           )
                     Defendant.


      This matter is before the court on defendant's MOTION FOR ADDITIONAL TIME
FOR PRETRIAL MOTIONS [90]. For good cause shown, I find that the motion should be
granted. The defendant will be given an approximate 31-day extension. Pretrial
Motions shall be filed by July 15, 2013.

       IT IS ORDERED:

        1.    Defendant's MOTION FOR ADDITIONAL TIME FOR PRETRIAL MOTIONS
[90] is granted. Pretrial motions shall be filed on or before July 15, 2013.

       2.     The defendant is ordered to file the affidavit required by NECrimR 12.1(a)
              regarding speedy trial as soon as practicable.

        3.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between June 14, 2013 and July
15, 2013, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel required additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 17th day of June, 2013.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
